     Case 1:03-cr-00041-MP-AK         Document 475        Filed 06/24/05    Page 1 of 1


                                                                                      Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:03-cr-00041-MP-AK

CLINTON A FORD,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 474, Motion to Continue Sentencing for 90 days

by Clinton A. Ford. The government does not object to the continuance.

       ORDERED AND ADJUDGED:

       Defendant's Motion to Continue Sentencing is GRANTED. Defendant's sentencing is
       rescheduled for Friday, October 21, 2005, at 11:00 A.M.

       DONE AND ORDERED this 24th             day of June, 2005.



                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
